      Case 1:16-cv-00339-DLH-CSM Document 69 Filed 03/11/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Madjid Berd, et. al.,                          )
                                               )
                Plaintiffs,                    )       ORDER
                                               )
       vs.                                     )
                                               )
Paul De Bastos,                                )       Case No. 1:16-cv-339
                                               )
               Defendant.                      )


       On March 18, 2019, the court granted in part Plaintiff’s Motion to Compel Discovery. See

Doc. No. 48. In so doing it directed Defendant Paul De Bastos ("De Bastos") to file proper

responses to Plaintiffs' production requests and answer several of Plaintiffs' interrogatories by April

19, 2019. De Bastos failed to comply with the court's March 18, 2019, order. On May 24, 2019,

the court held a status conference with the parties.

       On August 15, 2019, Plaintiffs filed a Motion for Sanctions pursuant to Fed. R. Civ. P. 37

See Doc. No. 54. They represented that although De Bastos had complied with some aspects of the

court's March 18, 2019 order, he had neither produced any documents responsive to their requests

for production nor responded to their emails. They requested the court to sanction De Bastos by,

among other things, entering default judgment against him and assessing him the costs and attorney's

fees incurred they had on account of his discovery failures.

       On March 5, 2020, the court issued an order granting plaintiffs' Motion for Sanctions. (Doc.

No. 68). The order provided:

       1.      Default judgment be entered against De Bastos upon a motion by the Plaintiffs
               detailing damages, which are a sum certain or can be made certain by computation.




                                                   1
         Case 1:16-cv-00339-DLH-CSM Document 69 Filed 03/11/21 Page 2 of 2




         2.     De Bastos is to pay costs and reasonable attorney’s fees associated with the
                Defendant’s discovery failures, including the costs to prepare the motion for
                sanctions.

         3.     The Plaintiffs are directed to submit billing statements evidencing their costs and
                attorney’s fees associated with the Defendant’s discovery failures by April 1, 2020,
                for the Court’s consideration.

(Id.).

         On April 1, 2020, Plaintiffs filed a notice of their costs and attorney's fees associated with

De Bastos's discovery failures. (Doc. No. 66). On April 7, 2020, the court cancelled the final

pretrial conference and jury trial respectively scheduled for April 13 and 27, 2020.

         On June 15, 2020, the court issued an order granting Plaintiffs their costs and attorney's fees

associated with De Bastos' discovery failure. (Doc. No. 68). More than eight months have since

lapsed. In the absence of a motion for default judgment, the court is preliminarily inclined to

reschedule this matter for trial. However, before doing do, the court will give Plaintiffs an

opportunity provide their input on how it should proceed. Accordingly, Plaintiffs shall have until

March 26, 2021, to file a report updating the court on the status of this action and how it wishes to

proceed.

         IT IS SO ORDERED.

         Dated this 11th day of March, 2021.

                                                /s/ Clare R. Hochhalter
                                                Clare R. Hochhalter, Magistrate Judge
                                                United States District Court




                                                   2
